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14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN JOSE DIVISION
16
     MATT JONES; BRYSON DECHAMBEAU;                 Case No. 5:22-CV-04486-BLF
17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                    MOTION FOR RELIEF FROM
18                  Plaintiffs,                     NONDISPOSITIVE PRETRIAL ORDER
                                                    OF MAGISTRATE JUDGE
19             v.
                                                    Judge:        Hon. Beth Labson Freeman
20   PGA TOUR, INC.,

21                  Defendant.

22                                                  Date Filed:      August 3, 2022
     PGA TOUR, INC.,
23                                                  Trial Date:      January 8, 2024
                    Counter-Claimant,
24             v.
25   LIV GOLF, INC.,
26                  Counter-Defendant.
27

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 1   I.        INTRODUCTION

 2             Pursuant to Local Civil Rule 72-2, the PGA TOUR Inc. (the “TOUR”) seeks relief from

 3   one aspect of Magistrate Judge van Keulen’s order compelling discovery from the Public

 4   Investment Fund of the Kingdom of Saudi Arabia (“PIF”) and Yasir Othman Al-Rumayyan (Dkt.

 5   265, the “Order”). Specifically, the Order ruled that, even though PIF and Mr. Al-Rumayyan

 6   failed to carry their burden under Rule 45 to prove that they do not regularly transact business in

 7   New York, they could still elect to force the TOUR to travel to Riyadh, Saudi Arabia to take their

 8   depositions. PIF and Mr. Al-Rumayyan have now done so. This aspect of the Order contravenes

 9   Rule 45 and is erroneous. It would also endanger the TOUR and its counsel, who would be forced

10   to take the Court-ordered discovery in Saudi Arabia, where perceived criticism of the government

11   can be punished with years in prison and where, according to PIF and Mr. Al-Rumayyan, such

12   discovery would violate Saudi Arabian law and expose the TOUR and its counsel to

13   imprisonment. In any event, the Court recently granted the TOUR leave to add PIF and Mr. Al-

14   Rumayyan as counter defendants, so the geographic limitations in Rule 45 no longer apply and

15   they are subject to discovery in the United States as parties to this litigation that they authorized,

16   financed, and control. Accordingly, the Court should order PIF and Mr. Al-Rumayyan to produce

17   documents to the TOUR electronically and sit for deposition in New York City, San Francisco, or

18   another mutually agreeable location in the United States.

19   II.       ARGUMENT

20             A magistrate judge’s non-dispositive pretrial order may be modified or set aside if it is

21   “clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a). “[T]he magistrate’s factual

22   determinations are reviewed for clear error, and the magistrate’s legal conclusions are reviewed to

23   determine whether they are contrary to law.” Perry v. Schwarzenegger, 268 F.R.D. 344, 348

24   (N.D. Cal. 2010). The aspect of the Order allowing PIF and Mr. Al-Rumayyan to set the place of

25   compliance in Saudi Arabia should be reversed for four reasons.

26             First, because the Order held that PIF and Mr. Al-Rumayyan failed to carry their burden

27   of showing why they could not comply in New York, it was contrary to law to allow them to elect

28   a compliance location in Saudi Arabia. As the Order correctly determined, PIF and Mr. Al-

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 1   Rumayyan “carry the burden” of proving that they do not “regularly transact business” within 100

 2   miles of the place of compliance in New York City. Order at 55. PIF and Mr. Al-Rumayyan

 3   failed to carry their burden because “the evidence offered by [them] is inconclusive on the issue

 4   of whether either of them regularly transact business in person within 100 miles of the NYC

 5   location, within the meaning of Rule 45.” Order at 55 (emphasis added). Because the evidence

 6   was “inconclusive,” PIF and Mr. Al-Rumayyan failed to show why they could not comply with

 7   the subpoenas in New York. Accordingly, as a matter of law, they were not entitled to modify the

 8   place of compliance. See Corrales v. Castillo, 2008 WL 11451256, at *2 (D. Nev. Feb. 12, 2008)

 9   (denying motion to quash because foreign deponent did not “satisfy this obligation” by “[m]erely

10   asserting that he conducts business from his office in Tijuana, Mexico”). Indeed, they cannot

11   satisfy their burden because Mr. Al-Rumayyan’s frequent visits to New York City and PIF’s

12   investment conduct through its New York City branch office demonstrate that they regularly

13   transact business in New York City. See Dkt. No. 169 at 17:7-24.

14             Second, allowing PIF and Mr. Al-Rumayyan to unilaterally set a compliance location in

15   Saudi Arabia was erroneous. Even though PIF and Mr. Al-Rumayyan failed to carry their burden,

16   the Order found that “in light of the[ir] arguments,” it would “exercise its discretion to modify

17   rather than quash the subpoenas on the issue of the place of compliance.” Order at 55. But Rule

18   45 does not permit a court to modify the place of subpoena compliance unless required or

19   permitted under specific enumerated categories set forth in Rule 45(d)(3)—none of which apply

20   here. In concluding otherwise, the Order cited Asea Inc. v. So. Pac. Transp. Co., which

21   interpreted and relied on an outdated version of Federal Rule of Civil Procedure 45. See id. (citing

22   Asea Inc. v. So. Pac. Transp. Co., 669 F.2d 1242, 1248 (9th Cir. 1981)).

23             Asea held that a district court did not abuse its discretion by directing the deposition of a

24   non-party witness to be taken in Sweden, the deponent’s domicile, under subparagraph (d)(2) of a

25   prior version of Rule 45. 669 F.2d at 1248. But Rule 45 has been substantively amended since

26   Asea was decided. At the time Asea was decided, Rule 45 expressly granted district courts

27   discretion to require a nonresident to attend a deposition at any “convenient place as is fixed by

28   an order of court.” Fed. R. Civ. P. 45(d)(2) (1981). That language no longer exists in Rule 45.

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 1   Instead, Rule 45 now only allows courts to modify a subpoena “when required” and “when

 2   permitted” in specifically enumerated circumstances set out in Rule 45(d)(3). The only applicable

 3   provisions of Rule 45(d)(3) requiring quashing or modification are those involving the 100-mile

 4   rule and undue burden. See Fed. R. Civ. P. 45(d)(3)(A)(ii), (iv). But, as discussed above, PIF and

 5   Mr. Al-Rumayyan failed to meet their burden to show that quashing or modifying the subpoena

 6   was required for seeking compliance beyond the geographical limits specified in Rule 45(c). And

 7   PIF and Mr. Al-Rumayyan did not argue that complying with the subpoenas in New York City

 8   posed an undue burden. Therefore, none of the applicable provisions of Rule 45(d)(3) required or

 9   permitted modification of the place of compliance. The Order thus erred in modifying the place of

10   compliance for the subpoenas without authority.

11             Third, under these circumstances, the TOUR and its counsel should not be forced to

12   obtain discovery from PIF and Mr. Al-Rumayyan in Riyadh when “legitimate safety concerns . . .

13   warrant compelling [them] to submit to deposition outside of Saudi Arabia.” Tekle v. Al Saud,

14   2019 WL 13252469, at *3 (E.D. Va. June 18, 2019) (holding that the safety risks of taking a

15   deposition in Saudi Arabia constituted exceptional circumstances warranting deviation from the

16   presumption in favor of deposing the defendant near their place of residence). Here, PIF and Mr.

17   Al-Rumayyan have previously argued that disclosure of the information sought by the subpoenas

18   is unlawful under Saudi Arabian law and would “expose [those involved] to imprisonment.” See

19   Dkt. No. 166 at 24. Notably, Judge van Keulen accepted PIF and Mr. Al-Rumayyan’s
20   representations (without concluding that they were true), but in balancing those concerns against

21   the interests of the United States and the TOUR’s interest in obtaining this information, ordered

22   that PIF and Mr. Al-Rumayyan produce discovery. Order at 41. Now, PIF and Mr. Al-Rumayyan

23   have purported to “request a change of the place of the depositions from New York to Riyadh.”

24   Ex. A (Feb. 21, 2023 Teruya Email). It is unfair and unreasonable to force the TOUR to travel to

25   Saudi Arabia to obtain discovery that PIF and Mr. Al-Rumayyan contend is illegal to provide

26   there. See Fausto v. Credigy Servs. Corp., 251 F.R.D. 427, 430 (N.D. Cal. 2008) (ordering

27   depositions in the United States rather than Brazil, in part, because “it apparently is illegal for

28   American lawyers to take depositions in Brazil and they do so at risk of imprisonment”).

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 1             Moreover, the State Department has warned that “statements construed as constituting

 2   defamation of the Al Saud family, have resulted in criminal charges in Saudi Arabia.” Tekle, 2019

 3   WL 13252469, at *3 (quoting U.S. Dep’t of State, Saudi Arabia 2018 Human Rights Report, at

 4   13, 23, https://www.state.gov/wp-content/uploads/ 2019/03/SAUDI-ARABIA-2018.pdf) (cleaned

 5   up). The State Department has further explained that persons who criticize the Saudi Arabian

 6   government have been “arbitrarily arrested and detained without charge.” Id. (cleaned up). And

 7   just this Monday, the New York Times reported on an American citizen sentenced to 19 years in

 8   prison for a tweet deemed critical of the Saudi government and noted the “kingdom’s courts are

 9   meting out harsher punishments than ever to citizens who criticize the government,” with some

10   prosecutions “ending in prison sentences of 15 to 45 years.” Vivian Nereim, ‘Equality of Injustice

11   for All’: Saudi Arabia Expands Crackdown on Dissent, New York Times (Feb. 21, 2023),

12   https://www.nytimes.com/2023/02/21/world/middleeast/saudi-arabia-dissent-crackdown.html.

13   The TOUR and its American counsel should not have to run the risk that they might be harassed

14   or detained because something they say in a deposition is perceived as critical of the Saudi

15   government; nor should they have to censor themselves in the course of conducting Court-ordered

16   discovery. See United States v. $160,066.98 from Bank of Am., 202 F.R.D. 624, 628 (S.D. Cal.

17   2001) (ordering depositions in San Diego where the “United States government has issued a

18   security warning for Americans considering travel to Pakistan”).

19             Finally, on February 21, after Judge van Keulen issued the Order, 1 the Court granted the
20   TOUR leave to amend to add PIF and Mr. Al-Rumayyan as defendants to the TOUR’s

21   counterclaims. See Dkt. 280. The addition of PIF and Mr. Al-Rumayyan as parties further

22   warrants deposing them in the United States, as they are no longer within the scope of Rule

23   45(c)’s protections for nonparties. Specifically, the 100-mile rule in Rule 45 is only intended to

24   protect nonparty witnesses “from being subjected to excessive discovery burdens in litigation in

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26   1
         Notably, the Order only addresses discovery from PIF and Mr. Al-Rumayyan “as third parties,”
27   and is “without prejudice to the PGA [TOUR]’s ability to seek further discovery from PIF and
28   Mr. Al-Rumayyan if they are added as counter defendants.” Order at 57.
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 1   which they have little or no interest.” In re Edelman, 295 F.3d 171, 178 (2d Cir. 2002) (emphasis

 2   added); see also Exxon Shipping Co. v. U.S. Dep’t of Interior, 34 F.3d 774, 779 (9th Cir. 1994)

 3   (holding that Rule 45’s “protection” applies to “nonparty deponents”). Now that PIF and Mr. Al-

 4   Rumayyan have been added as counter defendants, they are subject to party discovery and must

 5   comply with their obligations just like any litigant in U.S. court proceedings.

 6             “[T]his court can compel a foreign-national defendant, like [PIF and Mr. Al-Rumayyan],

 7   over whom it has personal jurisdiction, to attend a deposition in the United States.” Goes Int’l v.

 8   Dodur Ltd., 2017 WL 118807, at *2 (N.D. Cal. Jan. 12, 2017); see also Hyde & Drath v.

 9   Baker, 24 F.3d 1162, 1166 (9th Cir. 1994) (“[T]here was no abuse of discretion in ordering the

10   depositions [of Hong Kong corporations] to occur in San Francisco.”). When a foreign defendant

11   “is doing business in the United States, is subject to the court’s jurisdiction, and has freely taken

12   advantage of our federal rules of discovery,” as is true of PIF and Mr. Al-Rumayyan here, “the

13   foreign corporation’s agents are frequently compelled for deposition on American soil.” Custom

14   Form Mfg., Inc. v. Omron Corp., 196 F.R.D. 333, 336 (N.D. Ind. 2000) (collecting cases). Not

15   surprisingly, “numerous courts” have “ordered depositions of foreign parties to occur in the

16   United States in accordance with the Federal Rules.” Schindler Elevator Corp. v. Otis Elevator

17   Co, 657 F. Supp. 2d 525, 529 (D.N.J. 2009); see also Hyde & Drath, 24 F.3d at 1166 (Hong

18   Kong corporations’ depositions in San Francisco); Goes, 2017 WL 118807, at *2 (Chinese

19   corporation’s deposition in San Francisco); Roberts v. Heim, 130 F.R.D. 430, 437–39 (N.D. Cal.

20   1990) (Swiss defendant’s deposition in San Francisco).

21   III.      CONCLUSION
22             PIF and Mr. Al-Rumayyan control virtually every major aspect of LIV’s operation and

23   authorized and control LIV’s lawsuit. As Judge van Keulen held: “It is plain that PIF is not a

24   mere investor in LIV; it is the moving force behind the founding, funding, oversight, and

25   operation of LIV.” Order at 17. PIF and Mr. Al-Rumayyan can and should be subject to discovery

26   in the United States. The Court should grant the TOUR’s motion for relief, and order PIF and Mr.

27   Al-Rumayyan to produce responsive documents electronically and appear for depositions in New

28   York City, San Francisco, or another mutually agreeable location in the United States.

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